Case 1:19-cv-00626-DME-KLM Document 119 Filed 05/23/22 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:19-cv-00626-DME-KLM

   OTTER PRODUCTS, LLC, and TREEFROG
   DEVELOPMENTS, INC.,

         Plaintiffs,

   v.

   BIG BIRDS, LLC, DAVE’S MARKET, LLC, DAVID
   PAIGE, JUDAH HOLLAND, and
   JOHN DOES 1-10, individually or as corporate/business entities,

          Defendants,

   BIG BIRDS, LLC and DAVE’S MARKET, LLC,

          Counterclaim-Plaintiffs,
   v.

   OTTER PRODUCTS, LLC, and TREEFROG
   DEVELOPMENTS, INC.,

         Counterclaim-Defendants.


                                     ORDER OF DISMISSAL


         THIS MATTER comes before the Court upon the parties’ Stipulation of

   Dismissal With Prejudice (Doc. No. 118).

         IT IS ORDERED THAT the Trial Preparation Conference scheduled on July 1,

   2022, and the Jury Trial scheduled to begin on July 11, 2022, are vacated.

         IT IS THEREFORE ORDERED THAT that this civil action is dismissed with

   prejudice. Each party shall pay its own costs and attorneys' fees.
Case 1:19-cv-00626-DME-KLM Document 119 Filed 05/23/22 USDC Colorado Page 2 of 2




        Dated: May 23, 2022



                                     BY THE COURT:


                                     s/ David M. Ebel

                                     UNITED STATES CIRCUIT JUDGE
